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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK
                                                                               10/24/2022
UNITED STATES OF AMERICA,
                                                                  14-CR-659 (NSR)
         -against-
                                                                      ORDER
STEPHEN P. BROWN

                              Defendant.


NELSON S. ROMÁN, United States District Judge:

         Defendant Stephen P. Brown (“Defendant”) filed a motion for a sentence reduction/

compassionate release pursuant to 18 U.S.C. § 3582(c)(1)(A) on October 18, 2022 (ECF Nos. 53

and 54). The Court sets the remainder of the briefing schedule as follows: the Government's

opposition shall be filed on or before November 2, 2022; and Defendant's reply shall be filed on

or before November 9, 2022. The parties are directed to provide two hard courtesy copies and one

electronic copy to chambers as the respective papers are filed.




Dated:    October 24, 2022                                  SO ORDERED:
          White Plains, New York

                                                ________________________________
                                                       NELSON S. ROMÁN
                                                     United States District Judge
